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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                                                              CASE NO.: 19-24331-BKC-JKO
                                                                           PROCEEDING UNDER CHAPTER 13

IN RE:

RALPH LEVI SANDERS, JR.
XXX-XX-6171

_____________________________/
DEBTOR

                     WITHDRAWAL OF TRUSTEE'S OBJECTION TO EXEMPTIONS

       COMES NOW, Robin R. Weiner, Esquire, Standing Chapter 13 Trustee, and files this Notice of
Withdrawal of Trustee's Objection to Exemptions in the above-styled proceeding and states as follows:

   1. The Trustee hereby withdraws her Objection to Exemptions.


          RESPECTFULLY SUBMITTED this 4th day of February, 2020.

                                                                   /s/ Robin R. Weiner
                                                                   _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154

COPIES FURNISHED TO:

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